Case 3:17-cv-00072-NKM-JCH Document 718 Filed 04/27/20 Page 1 of 2 Pageid#: 10834



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV72
   Elizabeth Sines, et al                                   Date: March 27, 2020
   vs.                                                      Judge: Joel C. Hoppe
                                                            Court Reporter: H. Wheeler/FTR
   Jason Kessler, et al
                                                            Deputy Clerk: Heidi N. Wheeler



    Plaintiff Attorney(s)                           Defendant Attorney(s)
    Jessica Phillips                                Dillon Hopper
    Michael Bloch                                   James Kolenich
    Alan Levine                                     David Cambpell
    David Mills                                     John DiNucci
    Roberta Kaplan                                  Bryan Jones
    Joshua Siegel




                                      LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                            DEFENDANT:
   1.                                               1.



  PROCEEDINGS:
  TELEPHONIC STATUS HEARING ON MOTIONS: 1:10-1:24= 14 MIN

  Court inquires as to status of various pending motions on the docket.

  Report by parties.

  Report and Recommendation will enter soon.
Case 3:17-cv-00072-NKM-JCH Document 718 Filed 04/27/20 Page 2 of 2 Pageid#: 10835




  Time in Court:
